 8:10-cr-00158-LSC-SMB        Doc # 97    Filed: 06/24/10    Page 1 of 1 - Page ID # 185




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:10CR158
       vs.                                 )
                                           )                      ORDER
MARIA SANDOVAL,                            )
                                           )
                     Defendant.            )


       This matter is before the court on defendant's second "Unopposed Motion To
Continue Date for Filing Pretrial Motions" [96]. Pretrial motions were originally due June
15, 2010. The defendant previously requested an extension to July 13, 2010; however, the
court found that only an extension to June 24, 2010 was warranted. That order was not
challenged.

        The pending motion is virtually identical to the defendant's prior motion. The court
finds that the defendant has not shown good cause for a further extension of the pretrial
motion deadline

       Pursuant to the Speedy Trial Act,18 U.S.C. § 3161(h)(7)(A), the court further finds
that the "ends of justice" purportedly served by granting the defendant's requested
continuance do not outweigh the interests of the public and the defendant in a speedy trial.
See generally Zedner v. United States, 547 U.S. 489 (2006).

       IT IS ORDERED:

       1. Defendant's Motion To Continue Date for Filing Pretrial Motions [96] is denied.

       2. A party may object to a magistrate judge's order by filing an "Objection to
Magistrate Judge's Order" within 14 days after being served with the order. The objecting
party must comply with all requirements of NECrimR 59.2.

       DATED this 24th day of June, 2010.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
